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                                                  U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York



                                                      July 19, 2023

VIA ECF
The Honorable John P. Cronan
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007
       Re:     Reclaim the Records et al., v. U.S. Dep't of State, 23-cv-01650 (JPC)
Dear Judge Cronan:

        This Office represents the U.S. Department of State (the “DOS”) in the above-referenced
action brought under the Freedom of Information Act (“FOIA”). We write jointly with Plaintiffs
Reclaim the Records and Alec Ferreti (“Plaintiffs”) to provide the Court with a status update
pursuant to the Court’s June 15, 2023 Order. See ECF No. 14.

        The DOS is still assessing whether, and to what extent, it may be able to process Plaintiffs’
request for “[a]n extract of all information for deceased passport holders maintained in the passport
database.” The DOS has agreed to provide Plaintiffs with a further update by July 28, 2023.

       Because this is a FOIA case, we anticipate that this matter will either be resolved
consensually, or through motions for summary judgment on any issues the parties are unable to
resolve. We therefore respectfully request that the parties be required to provide the Court with a
written status update on or before August 4, 2023. If the parties agree upon the scope of the
requested search, we will negotiate a production schedule and advise the Court of same. If we
reach an impasse as to the scope of the requested search, we will propose a briefing schedule for
motions for summary judgment.

       We thank the Court for its consideration of this letter.


                                              Respectfully,


   BELDOCK LEVINE &                           DAMIAN WILLIAMS
   HOFFMAN LLP                                United States Attorney for the
   Attorney for Plaintiffs                    Southern District of New York
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